   Case: 1:12-cr-00723 Document #: 343 Filed: 06/19/19 Page 1 of 2 PageID #:3622




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                 No. 12 CR 723
               v.
                                                 Judge Sharon Johnson Coleman
 ADEL DAOUD

                                   NOTICE OF APPEAL

       Notice is hereby given that the UNITED STATES OF AMERICA appeals to the United

States Court of Appeals for the Seventh Circuit from this Court’s Judgment, which was entered on

the docket on May 21, 2019.

                                            Respectfully submitted,

                                            JOHN R. LAUSCH, JR.
                                            United States Attorney

                                            /s/ Tiffany A. Ardam
                                            BARRY JONAS
                                            TIFFANY A. ARDAM
                                            Assistant U.S. Attorney
                                            219 South Dearborn St., Rm. 500
                                            Chicago, Illinois 60604
                                            (312) 353-0951

Date: June 19, 2019
   Case: 1:12-cr-00723 Document #: 343 Filed: 06/19/19 Page 2 of 2 PageID #:3623




                               CERTIFICATE OF SERVICE

       The undersigned Assistant United States Attorney hereby certifies that in accordance with

Fed. R. Crim. P. 49, Fed. R. Div. P. 5, LR 5.5, and the General Order on Electronic Case Filing

(“ECF”), the government’s Notice of Appeal was served, pursuant to the district court’s ECF

system, to opposing counsel of record.



                                     By:    /s/ Tiffany A. Ardam
                                            BARRY JONAS
                                            TIFFANY A. ARDAM
                                            Assistant U.S. Attorney
                                            219 South Dearborn St., Rm. 500
                                            Chicago, Illinois 60604
                                            (312) 353-0951

Date: June 19, 2019
